            Case 3:25-cv-04870-CRB          Document 12     Filed 06/10/25    Page 1 of 3




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15                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
17
18       GAVIN NEWSOM, in his official capacity
         as Governor of the State of California, et
19       al.,                                         No. 3:25-cv-04870-CRB
20                                                    DEFENDANTS’ NOTICE
                Plaintiffs,
21                                                    REGARDING PLAINTIFFS’ EX
                        v.                            PARTE MOTION FOR A
22                                                    TEMPORARY RESTRAINING
         DONALD J. TRUMP, in his official             ORDER
23       capacity as President of the United States
24       of America, et al.,

25              Defendants.
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         NOTICE REGARDING PLAINTIFFS’ REQUEST FOR AN EX PARTE TEMPORARY RESTRAINING ORDER
            Case 3:25-cv-04870-CRB           Document 12        Filed 06/10/25      Page 2 of 3




 1          Defendants President Donald J. Trump, Secretary of Defense Pete Hegseth, and the U.S.

 2 Department of Defense file this notice of their opposition to Plaintiffs’ request for an ex parte
 3 temporary restraining order. Plaintiffs’ motion is legally meritless. It seeks an extraordinary,
 4 unprecedented, and dangerous court order. If entered, Plaintiffs’ proposed order would jeopardize the
 5 safety of Department of Homeland Security personnel and interfere with the Federal Government’s
 6 ability to carry out operations. Plaintiffs’ request that this Court supervise the President and Secretary
 7 of Defense’s management of military forces is itself highly unusual and indeed non-justiciable under
 8 constitutional principles. The Court should reject Plaintiffs’ suggestion that this Court enter an
 9 order—on a one-sided record and without hearing from Defendants—on a subject of grave importance
10 that implicates the separation of powers. As Plaintiffs noted in their motion, Defendants request the
11 Court enter an order making Defendants’ opposition to Plaintiffs’ motion due tomorrow at 11 a.m.
12 Pacific time. Defendants request 24 hours to finalize declarations necessary to expose certain of
13 Plaintiffs’ allegations as false and demonstrate the irreparable harm to the Defendants if the Court
14 were to enter the proposed order.
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16 Dated: June 10, 2025                            Respectfully submitted,

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         NOTICE REGARDING PLAINTIFFS’ REQUEST FOR AN EX PARTE TEMPORARY RESTRAINING ORDER
       Case 3:25-cv-04870-CRB     Document 12     Filed 06/10/25     Page 3 of 3




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     NOTICE REGARDING PLAINTIFFS’ REQUEST FOR AN EX PARTE TEMPORARY RESTRAINING ORDER
